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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA


vs.                                     NO. 4:07CR00127-012    SWW


ANDREA OAKLEY


                                        ORDER

         The above entitled cause came on for hearing on government’s motion to

revoke the probation previously granted this defendant in the United States

District Court for the Eastern District of Arkansas.        Based upon the admissions

of defendant, the Court found that defendant has violated the conditions of her

probation without just cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously granted

this defendant, be, and it is hereby, revoked, granting government’s motion [doc

#601].     Defendant shall serve a term of imprisonment of NINE (9) MONTHS in the

custody of the Bureau of Prisons.     The Court recommends that defendant be placed

in a facility as close to Central Arkansas as possible and that defendant

participate in residential or non-residential substance abuse treatment program

during incarceration.

         IT IS FURTHER ORDERED that the special assessment in the amount of $100.00

is mandatory and payable to the U. S. District Court, Eastern District of

Arkansas, during incarceration.       During incarceration, the defendant will

pay 50% per month of all funds that are available to her.

         There will be NO supervised release to follow.

         The defendant is remanded to the custody of the U. S. Marshal for transport

to designated facility for service of her sentence.

         IT IS SO ORDERED this 10th day of November 2010.

                                                /s/Susan Webber Wright

                                                United States District Judge
